     Case 4:13-cr-00007-JRH-CLR Document 783 Filed 11/18/15 Page 1 of 2

                                                                    FJLE0
                                                             U.S. DISTRICT COURT
                                                                SAVANNAH DIV.
                 IN THE UNITED STATES DISTRICT COURT FOR
                    THE SOUTHERN DISTRICT OF GEORGIA 2015N0V 18 AHIJ:22
                            SAVANNAH DIVISION
                                                          CLERK                    -
UNITED STATES OF AMERICA

V.                                              CASE NO. CR413-007

GRILLY HOLLOWAY, JR., a/k/a
Cheese, a/k/a Grill Cheese,

        Defendant.


                                ORDER

        Before the Court is Defendant Grilly Holloway Jr.'s

Motion to Correct Clerical Error. (Doc. 780.) In the

motion, Defendant suggests that his Presentence

Investigation Report erroneously placed him in Criminal

History Category III. (Id. at 1.) Defendant contends that

at his sentencing the Court rejected the United States

Probation Office's ("USPO") calculation of his criminal

history as category III and concluded that the correct

calculation was Criminal History Category II. (Id. at 2.)

According to Defendant, a clerical oversight resulted in

that change failing to be properly reflected in his

Presentence Investigation Report. (Id.)

        Defendant, however, is mistaken. At sentencing, the

Court agreed with the USPO that Defendant's criminal

history was correctly determined as category III.

Defendant's confusion stems from the Court's conclusion
    Case 4:13-cr-00007-JRH-CLR Document 783 Filed 11/18/15 Page 2 of 2




that a category III overrepresented Defendant's actual

criminal history. Based on this assessment, the Court

awarded Defendant a downward departure from the applicable

guideline sentence, using the guideline range applicable to

defendants with a criminal history of category II to arrive

at Defendant's sentence of 121 months. Despite this

departure, however, Defendant's criminal history category

was properly calculated and recorded as category 111.1

Because no clerical error occurred in this case,

Defendant's motion (Doc. 780) is DENIED.

       SO ORDERED this    /0 day of November 2015.

                                    WILLIAM T. MOORE, JR.ZV
                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF GEORGIA




1
  The Court notes that it is unable to depart from the
applicable guideline sentence when granting a Motion to
Reduce Pursuant to 18 U.S.C. § 3582. U.S. Sentencing
Guidelines Manual § 1B1.10(b) (2) . As a result, the Court
provided Defendant with the maximum reduction allowable
when granting his Motion to Reduce. (Doc. 747.)

                                    2
